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 7
                                UNITED STATES DISTRICT COURT
 8
                            NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
10
     IN RE GOOGLE PLAY STORE
11   ANTITRUST LITIGATION
12   THIS DOCUMENT RELATES TO:
                                                         Case No. 3:21-md-02981-JD
13   Epic Games Inc. v. Google LLC et al.,
     Case No. 3:20-cv-05671-JD                           SECOND DECLARATION OF LEE M.
14                                                       MASON IN SUPPORT OF
     In re Google Play Consumer Antitrust                PLAINTIFFS’ MOTION FOR
15   Litigation, Case No. 3:20-cv-05761-JD               SANCTIONS
16   State of Utah et al. v. Google LLC et al.,          Judge: Hon. James Donato
     Case No. 3:21-cv-05227-JD
17
     Match Group, LLC et al. v. Google LLC et
18   al., Case No. 3:22-cv-02746-JD
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                SECOND MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                             MOTION FOR SANCTIONS
      Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
            Case 3:20-cv-05671-JD Document 336-1 Filed 11/10/22 Page 2 of 2



 1          I, Lee M. Mason, declare as follows:
 2                  1.      I am an attorney duly admitted to practice in the State of Illinois and before
 3   this Court pro hac vice. I am an associate at Bartlit Beck LLP, and represent the proposed
 4   consumer class in this action. I submit this declaration in support of the Plaintiffs’ Reply in
 5   Support of their Motion for Sanctions. The exhibits to this declaration are consecutively
 6   numbered to the exhibits to my initial declaration filed in support of Plaintiffs’ Motion for
 7   Sanctions filed on October 13, 2022. The contents of this declaration are based on my personal
 8   knowledge, including my personal knowledge of the documents cited herein. The facts set forth
 9   herein are within my personal knowledge and if called as a witness, I could and would
10   competently testify to them.
11                  2.      Attached hereto as Exhibit 22 is a true and correct copy of a document
12   produced by Google in this litigation bearing the Bates range GOOG-PLAY-007021362 to
13   GOOG-PLAY-007021431.
14                  3.      Attached hereto as Exhibit 23 is an excerpt of a true and correct copy of
15   the deposition transcript of Tian Lim, taken in this litigation on December 2, 2021.
16                  4.      Attached hereto as Exhibit 24 is an excerpt of a true and correct copy of
17   the deposition transcript of Ruth Porat, taken in this litigation on September 15, 2022.
18                  5.      Attached hereto as Exhibit 25 is a true and correct copy of Plaintiffs’
19   Exhibit 1612, a document produced by Google in this litigation bearing the Bates range GOOG-
20   PLAY-008706724 to GOOG-PLAY-008706725.
21                  6.      Attached hereto as Exhibit 26 is a true and correct copy of Plaintiffs’
22   Exhibit 314, a document produced by Google in this litigation bearing the Bates range GOOG-
23   PLAY-003575453 to GOOG-PLAY-003575454.
24          I declare under penalty of perjury under the laws of the United States of America that the
25   foregoing is true and correct. Executed on this 10th day of November, 2022 at Chicago, Illinois.
26

27                                                                   /s/ Lee M. Mason
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                 SECOND MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                              MOTION FOR SANCTIONS
       Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD

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